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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :         Criminal No. 1:24-mj-00089-RMM
                                             :
       v.                                    :
                                             :
ANNIE VO,                                    :
                                             :
                      Defendant.             :
                                             :

             JOINT MOTION TO CONTINUE STATUS CONFERENCE AND
                TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The parties are currently scheduled for a status hearing on June 4, 2024. The United States

of America and counsel for the above-captioned defendant hereby move this Court for an

approximately 60-day continuance of that hearing and to exclude the time under the Speedy Trial

Act, 18 U.S.C. § 3161 et seq. In support of this joint motion, the undersigned states as follows:

       1.      Defendant was charged by complaint for violations related to her actions on January

6, 2021. She was arrested on March 7, 2024, for misdemeanor charges related to entering and

remaining in a restricted building or grounds and conduct therein. Defendant is not in custody.

       2.      Both case specific and global discovery has been provided to Defendant, which has

included filesharing of documents produced to Relativity.         The Government expects more

discovery to be produced in the future. The production to Relativity included numerous audio files

and other records of the U.S. Capitol Police, tens of thousands of tips and related documentation

made to the Metropolitan Police Department tipline, and FBI reports of interviews, among other

materials. Defense continues to review discovery and further investigate this matter.

       3.      The parties continue to engage in discussions for pre-trial resolution of this matter

and will continue to do so during this continuation.

       4.      Given defense’s interest in reviewing the voluminous discovery materials, the
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parties seek an additional continuance of approximately 60 days or another date thereafter at the

Court’s convenience. The additional time will afford the United States time to continue to produce

discovery, defense counsel time to review and investigate any matters as needed, and the parties

time to discuss any possible pre-trial resolution of this matter.

       WHEREFORE, the parties respectfully request that this Court grant the motion for an

approximately 60-day continuance of the above-captioned proceeding, and that the Court exclude

the time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., including holding of any preliminary

hearing or deadline for indictment, on the basis that the ends of justice served by taking such

actions outweigh the best interest of the public and the defendant in a speedy indictment or trial

pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv), and failure to

grant such a continuance would result in a miscarriage of justice.



                                               Respectfully submitted,

                                                       MATTHEW M. GRAVES
                                                       United States Attorney
                                                       D.C. Bar Number 481052


                                               By:     /s/ Eric Boylan
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                                                       /s/ Harold S. Ansell
                                                       Harold S. Ansell
                                                       INDIANA FEDERAL COMMUNITY
                                                       DEFENDERS
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